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                                                                 APPEAL,STAYED,TYPE−E
                             U.S. District Court
                  District of Columbia (Washington, DC)
             CIVIL DOCKET FOR CASE #: 1:16−cv−00745−PLF
                              Internal Use Only

NATIONAL VETERANS LEGAL SERVICES PROGRAM et          Date Filed: 04/21/2016
al v. UNITED STATES OF AMERICA                       Jury Demand: None
Assigned to: Judge Paul L. Friedman                  Nature of Suit: 890 Other Statutory
Case in other court: USCA for the Federal Circuit,   Actions
                     19−01083−SJ                     Jurisdiction: U.S. Government Defendant
                     USCA for the Federal Circuit,
                     18−00154−CP
                     USCA for the Federal Circuit,
                     18−00155−CP
                     USCA for the Federal Circuit,
                     19−01081−SJ
Cause: 28:1346 Tort Claim
Plaintiff
NATIONAL VETERANS LEGAL                represented by Jonathan E. Taylor
SERVICES PROGRAM                                      GUPTA WESSLER PLLC
                                                      1900 L Sreet, NW
                                                      Suite 312
                                                      Washington, DC 20036
                                                      (202) 888−1741
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                     Meghan S.B. Oliver
                                                     MOTLEY RICE, LLC
                                                     28 Bridgeside Blvd.
                                                     Mt. Pleasant, SC 29464
                                                     843−216−9492
                                                     Email: moliver@motleyrice.com
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     William H. Narwold
                                                     1 Corporate Center
                                                     20 Church Street
                                                     17th Floor
                                                     Hartford, CT 06103
                                                     860−882−1676
                                                     Fax: 860−882−1682
                                                     Email: bnarwold@motleyrice.com
                                                     LEAD ATTORNEY


                                                                                               1
       Case 1:16-cv-00745-PLF Document 133 Filed 12/17/21 Page 2 of 41


                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Elizabeth S. Smith
                                                 MOTLEY RICE, LLC
                                                 401 9th Street, NW
                                                 Suite 1001
                                                 Washington, DC 20004
                                                 (202) 386−9627
                                                 Fax: (843) 216−9350
                                                 Email: esmith@motleyrice.com
                                                 ATTORNEY TO BE NOTICED

                                                 Deepak Gupta
                                                 GUPTA WESSLER PLLC
                                                 2001 K St NW
                                                 Suite 850 North
                                                 Washington, DC 20006
                                                 202−888−1741
                                                 Fax: 202−888−7792
                                                 Email: deepak@guptawessler.com
                                                 ATTORNEY TO BE NOTICED

Plaintiff
NATIONAL CONSUMER LAW                represented by Jonathan E. Taylor
CENTER                                              (See above for address)
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                 Meghan S.B. Oliver
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 William H. Narwold
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Elizabeth S. Smith
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Deepak Gupta
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Plaintiff


                                                                                  2
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ALLIANCE FOR JUSTICE               represented by Jonathan E. Taylor
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                               Meghan S.B. Oliver
                                               (See above for address)
                                               LEAD ATTORNEY
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               William H. Narwold
                                               (See above for address)
                                               LEAD ATTORNEY
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                               Elizabeth S. Smith
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Deepak Gupta
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED


V.
Defendant
UNITED STATES OF AMERICA           represented by Jeremy S. Simon
                                                  U.S. ATTORNEY'S OFFICE FOR THE
                                                  DISTRICT OF COLUMBIA
                                                  555 Fourth Street, NW
                                                  Washington, DC 20530
                                                  (202) 252−2528
                                                  Fax: (202) 252−2599
                                                  Email: jeremy.simon@usdoj.gov
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                               Robert Aaron Caplen
                                               UNITED STATES ATTORNEY'S
                                               OFFICE
                                               555 4th Street, NW
                                               Washington, DC 20530
                                               (202) 252−2523
                                               Email: robert.caplen@usdoj.gov
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                               Brian J. Field


                                                                                   3
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                                                  SCHAERR JAFFE LLP
                                                  1717 K Street, NW
                                                  Suite 900
                                                  Washington, DC 20006
                                                  202−787−1060
                                                  Email: bfield@schaerr−jaffe.com
                                                  TERMINATED: 06/03/2021

                                                  William Mark Nebeker
                                                  U.S. ATTORNEY'S OFFICE FOR THE
                                                  DISTRICT OF COLUMBIA
                                                  555 Fourth Street, NW
                                                  Washington, DC 20530
                                                  (202) 252−2536
                                                  Fax: (202) 252−2599
                                                  Email: mark.nebeker@usdoj.gov
                                                  TERMINATED: 06/02/2021


V.
Interested Party
ROSEMARIE HOWELL                    represented by ROSEMARIE HOWELL
                                                   9504 N.E. 5th Street
                                                   Vancouver, WA 98664
                                                   (360) 953−0798
                                                   PRO SE

Interested Party
ROB RAWSON                          represented by ROB RAWSON
                                                   P.O. Box 632
                                                   Sanford, FL 32772−0632
                                                   PRO SE

Movant
DON KOZICH                          represented by DON KOZICH
                                                   P.O. Box 2032
                                                   Fort Lauderdale, FL 33303−2032
                                                   (954) 709−0537
                                                   Email: dtkctr@gmail.com
                                                   PRO SE

Movant
MICHAEL T. PINES                    represented by MICHAEL T. PINES
                                                   619−771−5302
                                                   PRO SE

Amicus
REPORTERS COMMITTEE FOR             represented by Bruce D. Brown
FREEDOM OF THE PRESS                               REPORTERS COMMITTEE FOR


                                                                                    4
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                                                  FREEDOM OF THE PRESS
                                                  1156 15th St, NW
                                                  Suite 1020
                                                  Washington, DC 20005
                                                  (202) 795−9301
                                                  Fax: (202) 795−9310
                                                  Email: bbrown@rcfp.org
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
AMERICAN ASSOCIATION OF            represented by Sasha Samberg−Champion
LAW LIBRARIES                                     RELMAN COLFAX PLLC
                                                  1225 19th Street NW
                                                  Suite 600
                                                  Washington, DC 20036
                                                  202−728−1888
                                                  Email: ssamberg−champion@relmanlaw.com
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

Amicus
JOSEPH I. LIEBERMAN                represented by Mark I. Bailen
                                                  BAKER & HOSTETLER LLP
                                                  1050 Connecticut Avenue, NW
                                                  Suite 1100
                                                  Washington, DC 20036
                                                  (202) 861−1715
                                                  Fax: (202) 861−1783
                                                  Email: mbailen@bakerlaw.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
AMERICAN SOCIETY OF                represented by Bruce D. Brown
NEWSPAPER EDITORS                                 (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
ASSOCIATED PRESS MEDIA             represented by Bruce D. Brown
EDITORS                                           (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
ASSOCIATION OF ALTERNATIVE         represented by Bruce D. Brown
NEWS MEDIA                                        (See above for address)
                                                  LEAD ATTORNEY

                                                                                       5
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                                                   ATTORNEY TO BE NOTICED

Amicus
CENTER FOR INVESTIGATIVE            represented by Bruce D. Brown
REPORTING                                          (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Amicus
FIRST AMENDMENT COALITION           represented by Bruce D. Brown
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Amicus
FIRST LOOK MEDIA WORKS, INC.        represented by Bruce D. Brown
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Amicus
INTERNATIONAL                       represented by Bruce D. Brown
DOCUMENTARY ASSOCIATION                            (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Amicus
INVESTIGATIVE REPORTING             represented by Bruce D. Brown
WORKSHOP                                           (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Amicus
MEDIA CONSORTIUM                    represented by Bruce D. Brown
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Amicus
MPA                                 represented by Bruce D. Brown
The Association of Magazine Media                  (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Amicus
NATIONAL PRESS                      represented by Bruce D. Brown
PHOTOGRAPHERS ASSOCIATION                          (See above for address)
                                                   LEAD ATTORNEY


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                                                ATTORNEY TO BE NOTICED

Amicus
ONLINE NEWS ASSOCIATION            represented by Bruce D. Brown
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
RADIO TELEVISION DIGITAL           represented by Bruce D. Brown
NEWS ASSOCIATION                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
REPORTERS WITHOUT BORDERS          represented by Bruce D. Brown
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
SEATTLE TIMES COMPANY              represented by Bruce D. Brown
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
SOCIETY OF PROFESSIONAL            represented by Bruce D. Brown
JOURNALISTS                                       (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
TULLY CENTER FOR FREE              represented by Bruce D. Brown
SPEECH                                            (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Amicus
DEBORAH BEIM                       represented by Sasha Samberg−Champion
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

Amicus
THOMAS BRUCE                       represented by Sasha Samberg−Champion
                                                  (See above for address)


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                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

Amicus
PHILLIP MALONE                        represented by Sasha Samberg−Champion
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

Amicus
JONATHAN ZITTRAIN                     represented by Sasha Samberg−Champion
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

Amicus
DARRELL ISSA                          represented by Mark I. Bailen
Congressman                                          (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED


Date Filed        #       Page   Docket Text
04/21/2016            1          COMPLAINT against All Defendants United States of America
                                 ( Filing fee $ 400 receipt number 0090−4495374) filed by
                                 NATIONAL VETERANS LEGAL SERVICES PROGRAM,
                                 ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                                 CENTER. (Attachments: # 1 Civil Cover Sheet, # 2 Summons
                                 to United States Attorney General, # 3 Summons to U.S.
                                 Attorney for the District of Columbia)(Gupta, Deepak)
                                 (Entered: 04/21/2016)
04/21/2016            2          LCvR 7.1 CERTIFICATE OF DISCLOSURE of Corporate
                                 Affiliations and Financial Interests by ALLIANCE FOR
                                 JUSTICE, NATIONAL CONSUMER LAW CENTER,
                                 NATIONAL VETERANS LEGAL SERVICES PROGRAM
                                 (Gupta, Deepak) (Entered: 04/21/2016)
04/21/2016                       Case Assigned to Judge Ellen S. Huvelle. (jd) (Entered:
                                 04/22/2016)
04/22/2016            3          SUMMONS (2) Issued Electronically as to UNITED STATES
                                 OF AMERICA, U.S. Attorney and U.S. Attorney General
                                 (Attachment: # 1 Consent Forms)(jd) (Entered: 04/22/2016)
04/26/2016            4          RETURN OF SERVICE/AFFIDAVIT of Summons and
                                 Complaint Executed as to the United States Attorney. Date of
                                 Service Upon United States Attorney on 4/26/2016. Answer


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                               due for ALL FEDERAL DEFENDANTS by 6/25/2016.
                               (Gupta, Deepak) (Entered: 04/26/2016)
04/26/2016          5          NOTICE of Appearance by Elizabeth S. Smith on behalf of All
                               Plaintiffs (Smith, Elizabeth) (Entered: 04/26/2016)
04/26/2016          6          MOTION for Leave to Appear Pro Hac Vice :Attorney Name−
                               William H. Narwold, :Firm− Motley Rice LLC, :Address− 20
                               Church Street, 17th Floor, Hartford, CT 06103. Phone No. −
                               860−882−1676. Fax No. − 860−882−1682 Filing fee $ 100,
                               receipt number 0090−4500590. Fee Status: Fee Paid. by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM (Attachments: # 1 Declaration, # 2 Text of
                               Proposed Order)(Smith, Elizabeth) (Entered: 04/26/2016)
04/26/2016                     MINUTE ORDER granting 6 Motion for Leave to Appear Pro
                               Hac Vice: It is hereby ORDERED that the motion for leave to
                               appear pro hac vice is GRANTED; and it is further ORDERED
                               that William H. Narwold is admitted pro hac vice for the
                               purpose of appearing in the above−captioned case. Signed by
                               Judge Ellen S. Huvelle on April 26, 2016. (AG) (Entered:
                               04/26/2016)
05/02/2016          7          RETURN OF SERVICE/AFFIDAVIT of Summons and
                               Complaint Executed on United States Attorney General. Date
                               of Service Upon United States Attorney General 05/02/2016.
                               (Gupta, Deepak) (Entered: 05/02/2016)
05/02/2016          8          MOTION to Certify Class by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM (Attachments: #
                               1 Declaration of Deepak Gupta, # 2 Declaration of William
                               Narwold, # 3 Declaration of Jonathan Taylor, # 4 Text of
                               Proposed Order)(Gupta, Deepak) (Entered: 05/02/2016)
05/16/2016          9          NOTICE of Appearance by William Mark Nebeker on behalf
                               of UNITED STATES OF AMERICA (Nebeker, William)
                               (Entered: 05/16/2016)
05/16/2016         10          Unopposed MOTION for Extension of Time to File
                               Response/Reply as to 8 MOTION to Certify Class by UNITED
                               STATES OF AMERICA (Attachments: # 1 Text of Proposed
                               Order)(Nebeker, William) (Entered: 05/16/2016)
05/17/2016                     MINUTE ORDER: It is hereby ORDERED that defendant's
                               unopposed 10 Motion for Extension of Time to File
                               Response/Reply is GRANTED, and defendant's Response is
                               due by July 11, 2016. Signed by Judge Ellen S. Huvelle on May
                               17, 2016. (lcesh2 ) (Entered: 05/17/2016)
06/27/2016         11          MOTION to Dismiss Or, In The Alternative, MOTION for
                               Summary Judgment by UNITED STATES OF AMERICA
                               (Attachments: # 1 Exhibit (1 through 5), # 2 Text of Proposed
                               Order)(Nebeker, William) (Entered: 06/27/2016)


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07/08/2016         12          Joint MOTION for Extension of Time to File Response/Reply
                               as to 8 MOTION to Certify Class , 11 MOTION to Dismiss Or,
                               In The Alternative MOTION for Summary Judgment by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM (Attachments: # 1 Text of Proposed Order)(Gupta,
                               Deepak) (Entered: 07/08/2016)
07/08/2016                     MINUTE ORDER granting 12 Motion for Extension of Time
                               to File Response re 8 MOTION to Certify Class and 11
                               MOTION to Dismiss: Upon consideration of the parties' joint
                               motion to extend the briefing schedule, it is hereby ORDERED
                               that the motion is GRANTED; it is FURTHER ORDERED that
                               the time within which the defendant may file a memorandum of
                               points and authorities in response to plaintiffs' motion for class
                               certification is further extended though July 25, 2016, and no
                               additional extensions shall be granted; and it isFURTHER
                               ORDERED that the time within which the plaintiffs may file a
                               memorandum of points and authorities in response to
                               defendant's motion to dismiss is initially extended though July
                               29, 2016. Signed by Judge Ellen S. Huvelle on July 7, 2016.
                               (AG) (Entered: 07/08/2016)
07/25/2016         13          Memorandum in opposition to re 8 MOTION to Certify Class
                               filed by UNITED STATES OF AMERICA. (Attachments: # 1
                               Exhibit A, # 2 Declaration Garcia, # 3 Text of Proposed
                               Order)(Nebeker, William) (Entered: 07/25/2016)
07/26/2016         14          MOTION to Stay Discovery by UNITED STATES OF
                               AMERICA (Attachments: # 1 Text of Proposed
                               Order)(Nebeker, William) (Entered: 07/26/2016)
07/29/2016         15          RESPONSE re 11 MOTION to Dismiss Or, In The Alternative
                               MOTION for Summary Judgment filed by ALLIANCE FOR
                               JUSTICE, NATIONAL CONSUMER LAW CENTER,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM.
                               (Attachments: # 1 Exhibit Govt's MTD in Fisher, # 2 Exhibit
                               Complaint in NVLSP v. USA, # 3 Exhibit Complaint in
                               Fisher)(Gupta, Deepak) (Entered: 07/29/2016)
08/04/2016         16          Unopposed MOTION for Extension of Time to File
                               Response/Reply as to 11 MOTION to Dismiss Or, In The
                               Alternative MOTION for Summary Judgment by UNITED
                               STATES OF AMERICA (Attachments: # 1 Text of Proposed
                               Order)(Nebeker, William) (Entered: 08/04/2016)
08/04/2016         17          REPLY to opposition to motion re 8 MOTION to Certify Class
                               filed by ALLIANCE FOR JUSTICE, NATIONAL
                               CONSUMER LAW CENTER, NATIONAL VETERANS
                               LEGAL SERVICES PROGRAM. (Gupta, Deepak) (Entered:
                               08/04/2016)
08/05/2016                     MINUTE ORDER granting 16 Unopposed Motion for
                               Extension of Time to File Reply re 11 MOTION to Dismiss Or,


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                               In The Alternative, MOTION for Summary Judgment : Upon
                               consideration of the Unopposed Motion For An Enlargement
                               Of Time, And Memorandum In Support Thereof, and for the
                               reasons set forth in support thereof, it is hereby ORDERED that
                               the motion is GRANTED; and it is FURTHER ORDERED that
                               the time within which Defendant may file a reply to Plaintiffs'
                               opposition to the pending Motion To Dismiss Or, In The
                               Alternative, For Summary Judgment is enlarged up to and
                               including August 16, 2016. Signed by Judge Ellen S. Huvelle
                               on August 5, 2016. (AG) (Entered: 08/05/2016)
08/09/2016         18          Joint MOTION for Scheduling Order by ALLIANCE FOR
                               JUSTICE, NATIONAL CONSUMER LAW CENTER,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM
                               (Attachments: # 1 Text of Proposed Order)(Narwold, William)
                               (Entered: 08/09/2016)
08/16/2016                     MINUTE ORDER: It is hereby ORDERED that the 18 Joint
                               Motion for Scheduling Order is GRANTED. Signed by Judge
                               Ellen S. Huvelle on August 16, 2016. (lcesh2) (Entered:
                               08/16/2016)
08/16/2016                     MINUTE ORDER: It is hereby ORDERED that defendant's 14
                               Motion to Stay is DENIED as moot. Signed by Judge Ellen S.
                               Huvelle on August 16, 2016. (lcesh2) (Entered: 08/16/2016)
08/16/2016         19          SCHEDULING ORDER: The parties' 18 Joint Motion for
                               Proposed Phased Schedule is hereby GRANTED. See Order for
                               details. Signed by Judge Ellen S. Huvelle on August 16, 2016.
                               (lcesh2) (Entered: 08/16/2016)
08/16/2016         20          REPLY to opposition to motion re 11 MOTION to Dismiss Or,
                               In The Alternative MOTION for Summary Judgment filed by
                               UNITED STATES OF AMERICA. (Attachments: # 1
                               Declaration Second Garcia)(Nebeker, William) (Entered:
                               08/16/2016)
08/17/2016         21          MOTION for Leave to File Sur−Reply by ALLIANCE FOR
                               JUSTICE, NATIONAL CONSUMER LAW CENTER,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM
                               (Attachments: # 1 Exhibit Sur−Reply, # 2 Statement of Facts, #
                               3 Text of Proposed Order)(Gupta, Deepak) (Entered:
                               08/17/2016)
08/17/2016         22          RESPONSE re 21 MOTION for Leave to File Sur−Reply filed
                               by UNITED STATES OF AMERICA. (Attachments: # 1 Text
                               of Proposed Order)(Nebeker, William) (Entered: 08/17/2016)
10/01/2016         23          NOTICE OF SUPPLEMENTAL AUTHORITY by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM (Attachments: # 1 Exhibit Opinion in Fisher v.
                               United States)(Gupta, Deepak) (Entered: 10/01/2016)
12/05/2016


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                               MINUTE ORDER granting in part and denying in part 21
                               Plaintiffs' Motion for Leave to File Sur−Reply: It is hereby
                               ORDERED that plaintiffs may file [21−2] Plaintiffs' Concise
                               Statement of Genuine Issues of Material Fact, but plaintiffs
                               may not file [21−1] Plaintiffs' Sur−Reply. A sur−reply is
                               unnecessary because plaintiffs seek to reply to a statement that
                               defendant originally presented in its motion to dismiss. Signed
                               by Judge Ellen S. Huvelle on December 5, 2016. (lcesh2)
                               (Entered: 12/05/2016)
12/05/2016         24          ORDER denying 11 Defendant's Motion to Dismiss or, in the
                               Alternative, Motion for Summary Judgment for the reasons
                               stated in the accompanying Memorandum Opinion. Signed by
                               Judge Ellen S. Huvelle on December 5, 2016. (lcesh2)
                               (Entered: 12/05/2016)
12/05/2016         25          MEMORANDUM OPINION in support of 24 Order Denying
                               11 Defendant's Motion to Dismiss or, in the Alternative,
                               Motion for Summary Judgment. Signed by Judge Ellen S.
                               Huvelle on December 5, 2016. (lcesh2) (Entered: 12/05/2016)
12/05/2016         26          SUPPLEMENTAL MEMORANDUM (Statement of Genuine
                               Issues of Material Fact) to re 11 MOTION to Dismiss Or, In
                               The Alternative MOTION for Summary Judgment filed by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM. (znmw) (Entered: 12/06/2016)
12/15/2016                     MINUTE ORDER Setting Hearing on Motion: It is hereby
                               ORDERED that a motion hearing on 8 Plaintiffs' MOTION to
                               Certify Class is set for 1/18/2017 at 02:30 PM in Courtroom
                               23A before Judge Ellen S. Huvelle. Signed by Judge Ellen S.
                               Huvelle on December 15, 2016. (lcesh2) (Entered: 12/15/2016)
12/19/2016         27          ANSWER to Complaint by UNITED STATES OF
                               AMERICA.(Nebeker, William) (Entered: 12/19/2016)
01/18/2017                     Minute Entry for proceedings held before Judge Ellen S.
                               Huvelle: Motion Hearing held on 1/18/2017, re 8 MOTION to
                               Certify Class, heard and taken under advisement. (Court
                               Reporter Scott Wallace) (gdf) (Entered: 01/18/2017)
01/20/2017         28          AFFIDAVIT re 8 MOTION to Certify Class of Daniel L.
                               Goldberg by ALLIANCE FOR JUSTICE, NATIONAL
                               CONSUMER LAW CENTER, NATIONAL VETERANS
                               LEGAL SERVICES PROGRAM. (Gupta, Deepak) (Entered:
                               01/20/2017)
01/20/2017         29          AFFIDAVIT re 8 MOTION to Certify Class of Stuart Rossman
                               by ALLIANCE FOR JUSTICE, NATIONAL CONSUMER
                               LAW CENTER, NATIONAL VETERANS LEGAL
                               SERVICES PROGRAM. (Gupta, Deepak) (Entered:
                               01/20/2017)
01/20/2017         30


                                                                                                  12
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                               AFFIDAVIT re 8 MOTION to Certify Class of Barton F.
                               Stichman by ALLIANCE FOR JUSTICE, NATIONAL
                               CONSUMER LAW CENTER, NATIONAL VETERANS
                               LEGAL SERVICES PROGRAM. (Gupta, Deepak) (Entered:
                               01/20/2017)
01/20/2017         31          AFFIDAVIT re 8 MOTION to Certify Class of Deepak Gupta
                               (Second) by ALLIANCE FOR JUSTICE, NATIONAL
                               CONSUMER LAW CENTER, NATIONAL VETERANS
                               LEGAL SERVICES PROGRAM. (Attachments: # 1 Exhibit A,
                               # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                               Exhibit F)(Gupta, Deepak) (Entered: 01/20/2017)
01/24/2017         32          ORDER granting 8 Plaintiffs' Motion to Certify Class for the
                               reasons stated in the accompanying Memorandum Opinion. See
                               Order for details. Signed by Judge Ellen S. Huvelle on January
                               24, 2017. (lcesh2) (Entered: 01/24/2017)
01/24/2017         33          MEMORANDUM OPINION in support of 32 Order Granting 8
                               Plaintiffs' Motion to Certify Class. Signed by Judge Ellen S.
                               Huvelle on January 24, 2017. (lcesh2) (Entered: 01/24/2017)
01/24/2017         34          SCHEDULING ORDER: See Order for deadlines and details.
                               Signed by Judge Ellen S. Huvelle on January 24, 2017. (lcesh2)
                               (Entered: 01/24/2017)
02/14/2017         35          TRANSCRIPT OF PROCEEDINGS before Judge Ellen S.
                               Huvelle held on 1−18−17; Page Numbers: (1−29). Date of
                               Issuance:1−29−17. Court Reporter/Transcriber Scott Wallace,
                               Telephone number 202−354−3196, Transcripts may be ordered
                               by submitting the <a
                               href="http://www.dcd.uscourts.gov/node/110">Transcript
                               Order Form</a><P></P><P></P>For the first 90 days after
                               this filing date, the transcript may be viewed at the courthouse
                               at a public terminal or purchased from the court reporter
                               referenced above. After 90 days, the transcript may be accessed
                               via PACER. Other transcript formats, (multi−page, condensed,
                               CD or ASCII) may be purchased from the court
                               reporter.<P>NOTICE RE REDACTION OF
                               TRANSCRIPTS: The parties have twenty−one days to file
                               with the court and the court reporter any request to redact
                               personal identifiers from this transcript. If no such requests are
                               filed, the transcript will be made available to the public via
                               PACER without redaction after 90 days. The policy, which
                               includes the five personal identifiers specifically covered, is
                               located on our website at www.dcd.uscourts.gov.<P></P>
                               Redaction Request due 3/7/2017. Redacted Transcript Deadline
                               set for 3/17/2017. Release of Transcript Restriction set for
                               5/15/2017.(Wallace, Scott) (Entered: 02/14/2017)
02/21/2017         36          NOTICE of Appearance by Brian J. Field on behalf of All
                               Defendants (Field, Brian) (Entered: 02/21/2017)
02/23/2017         37


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                               Unopposed MOTION For Approval of Plan of Class Notice by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM (Attachments: # 1 Exhibit 1 − Email Notice, # 2
                               Exhibit 2 − Postcard Notice, # 3 Exhibit 2 − Website Notice, #
                               4 Text of Proposed Order)(Narwold, William) (Entered:
                               02/23/2017)
02/28/2017         38          RESPONSE re 37 Unopposed MOTION For Approval of Plan
                               of Class Notice filed by UNITED STATES OF AMERICA.
                               (Nebeker, William) (Entered: 02/28/2017)
03/31/2017         39          NOTICE of Joint Filing of Proposed Order by ALLIANCE
                               FOR JUSTICE, NATIONAL CONSUMER LAW CENTER,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM re
                               37 Unopposed MOTION For Approval of Plan of Class Notice
                               (Attachments: # 1 Text of Proposed Order)(Narwold, William)
                               (Entered: 03/31/2017)
03/31/2017         40          Consent MOTION for Protective Order by ALLIANCE FOR
                               JUSTICE, NATIONAL CONSUMER LAW CENTER,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM
                               (Attachments: # 1 Text of Proposed Order)(Narwold, William)
                               (Entered: 03/31/2017)
04/03/2017         41          STIPULATED PROTECTIVE ORDER granting 40 Motion for
                               Protective Order. Signed by Judge Ellen S. Huvelle on April 3,
                               2017. (lcesh2) (Entered: 04/03/2017)
04/13/2017         42          Unopposed MOTION for Approval of Revised Plan of Class
                               Notice and Class Notice Documents by ALLIANCE FOR
                               JUSTICE, NATIONAL CONSUMER LAW CENTER,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM
                               (Attachments: # 1 Exhibit 1 − Email Notice, # 2 Exhibit 1−A −
                               BLACKLINE Email Notice, # 3 Exhibit 2 − Postcard Notice, #
                               4 Exhibit 2−A − BLACKLINE Postcard Notice, # 5 Exhibit 3 −
                               Website Notice, # 6 Exhibit 3−A − BLACKLINE Website
                               Notice, # 7 Exhibit 4 − Online Exclusion, # 8 Exhibit 5 −
                               Printable Exclusion, # 9 Exhibit 6 − Proposed Order, # 10
                               Exhibit 6−A − BLACKLINE Proposed Order)(Narwold,
                               William) (Entered: 04/13/2017)
04/14/2017         43          NOTICE of Filing of Revised Notice Documents by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM (Attachments: # 1 Exhibit 1 Revised Email Notice,
                               # 2 Exhibit 1A Revised and Blacklined Email Notice, # 3
                               Exhibit 2 Revised Postcard Notice, # 4 Exhibit 2A Revised and
                               Blacklined Postcard Notice)(Narwold, William) (Entered:
                               04/14/2017)
04/17/2017         44          ORDER granting 42 Plaintiffs' Unopposed Motion for
                               Approval of Revised Plan of Class Notice and Class Notice
                               Documents: See Order for details. Signed by Judge Ellen S.


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                               Huvelle on April 17, 2017. (lcesh2) (Entered: 04/17/2017)
04/17/2017                     MINUTE ORDER finding as moot 37 Motion for Approval of
                               Class Notice in light of approval of 42 Motion for Approval of
                               Revised Class Notice. Signed by Judge Ellen S. Huvelle on
                               April 17, 2017. (AG) (Entered: 04/17/2017)
05/22/2017         45          NOTICE to Exclude by ROSEMARIE HOWELL re 44
                               ORDER granting 42 Plaintiffs' Unopposed Motion for
                               Approval of Revised Plan of Class Notice and Class Notice
                               Documents (jf) (Entered: 05/24/2017)
06/15/2017         46          MOTION for Order for Exclusion by ROB RAWSON. "Let
                               this be filed" signed by Judge Ellen Segal Huvelle on
                               06/09/2017 (jf) Modified event title on 6/16/2017 (znmw).
                               (Entered: 06/15/2017)
06/15/2017                     MINUTE ORDER: It is hereby ORDERED that the Clerk shall
                               mail a copy of 46 NOTICE of and MOTION For An Order For
                               Exclusion filed by ROB RAWSON to the PACER Fees Class
                               Action Administrator, P.O. Box 43434, Providence, RI
                               02940−3434. Signed by Judge Ellen S. Huvelle on June 15,
                               2017. (lcesh2) (Entered: 06/15/2017)
07/05/2017         47          NOTICE of Change of Address by Deepak Gupta (Gupta,
                               Deepak) (Entered: 07/05/2017)
07/05/2017         48          Unopposed MOTION for Extension of Time to File Motion for
                               Summary Judgment by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM (Attachments: #
                               1 Text of Proposed Order)(Gupta, Deepak) (Entered:
                               07/05/2017)
07/05/2017                     MINUTE ORDER granting 48 Unopposed Motion for
                               Extension of Time to File Motion for Summary Judgment:
                               Upon consideration of the plaintiffs' unopposed motion to
                               extend the briefing schedule, it is hereby ORDERED that the
                               motion is GRANTED; and it is FURTHER ORDERED that the
                               time within which the plaintiffs may file their motion for
                               summary judgment solely on the issue of liability, i.e., whether
                               the fees charged to access records through PACER violate the
                               E−Government Act of 2002, Pub. L. No. 107−347, § 205(e),
                               116 Stat. 2899, 2915 (Dec. 17, 2002) (28 U.S.C. § 1913 note),
                               is extended through August 28, 2017; and it is FURTHER
                               ORDERED that the defendant shall file its opposition 20 days
                               after this date, on September 18, 2017, and the plaintiffs' reply
                               is due 10 days after that, on September 28, 2017, consistent
                               with this Courts scheduling order entered on January 24, 2017.
                               Signed by Judge Ellen S. Huvelle on July 5, 2017. (AG)
                               (Entered: 07/05/2017)
07/07/2017                     Set/Reset Deadlines: Plaintiff's Summary Judgment motion due
                               by 8/28/2017. Response to Motion for Summary Judgment due
                               by 9/18/2017. Plaintiff's Reply in support of Motion for

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                               Summary Judgment due by 9/28/2017. (hs) (Entered:
                               07/07/2017)
07/17/2017         49          MOTION for Leave to File Amicus Curiae, MOTION to
                               Appear by Phone, by DON KOZICH (Attachments: # 1 Exhibit
                               Application to Proceed In Forma Pauperis)(jf) Modified text on
                               7/19/2017 (znmw). (Entered: 07/18/2017)
07/19/2017         50          SUPPLEMENT re 45 NOTICE to Exclude by ROSEMARIE
                               HOWELL re 44 ORDER granting 42 Plaintiffs' Unopposed
                               Motion for Approval of Revised Plan of Class Notice and Class
                               Notice Documents filed by ROSEMARIE HOWELL. (jf)
                               (Entered: 07/19/2017)
08/24/2017         51          NOTICE of Change of Address by Elizabeth S. Smith (Smith,
                               Elizabeth) (Entered: 08/24/2017)
08/28/2017         52          MOTION for Summary Judgment as to Liability by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM (Attachments: # 1 Declaration Declaration of
                               Jonathan Taylor, # 2 Exhibit Exhibit A, # 3 Exhibit Exhibit B, #
                               4 Exhibit Exhibit C, # 5 Exhibit Exhibit D, # 6 Exhibit Exhibit
                               E, # 7 Exhibit Exhibit F, # 8 Exhibit Exhibit G, # 9 Exhibit
                               Exhibit H, # 10 Exhibit Exhibit I, # 11 Exhibit Exhibit J, # 12
                               Exhibit Exhibit K, # 13 Exhibit Exhibit L, # 14 Exhibit Exhibit
                               M, # 15 Declaration Declaration of Thomas Lee and Michael
                               Lissner, # 16 Statement of Facts Plaintiffs' Statement of
                               Undisputed Material Facts)(Gupta, Deepak) (Entered:
                               08/28/2017)
09/05/2017         53          MOTION for Leave to File Amicus Curiae Brief by
                               REPORTERS COMMITTEE FOR FREEDOM OF THE
                               PRESS (Attachments: # 1 Exhibit Proposed Amicus Brief, # 2
                               Proposed Order, # 3 Certificate of Corporate
                               Disclosure)(Brown, Bruce) (Entered: 09/05/2017)
09/05/2017         54          NOTICE of Appearance by Sasha Samberg−Champion on
                               behalf of AMERICAN ASSOCIATION OF LAW LIBRARIES
                               (Samberg−Champion, Sasha) (Entered: 09/05/2017)
09/05/2017         55          MOTION for Leave to File Brief Amici Curiae by AMERICAN
                               ASSOCIATION OF LAW LIBRARIES (Attachments: # 1
                               Proposed Brief, # 2 Text of Proposed
                               Order)(Samberg−Champion, Sasha) (Entered: 09/05/2017)
09/05/2017         56          MOTION for Leave to File Amicus Curiae Brief by JOSEPH I.
                               LIEBERMAN (Attachments: # 1 Exhibit Proposed Amicus
                               Brief, # 2 Text of Proposed Order)(Bailen, Mark) (Entered:
                               09/05/2017)
09/13/2017         57          MOTION for Extension of Time to File Response/Reply by
                               UNITED STATES OF AMERICA (Field, Brian) (Entered:
                               09/13/2017)



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09/13/2017                     MINUTE ORDER granting 53 55 56 Movants' Motions for
                               Leave to File Briefs as Amicus Curiae: Upon consideration of
                               the above−referenced motions, plaintiffs' consent and
                               defendant's representation that it will not oppose, it is hereby
                               ORDERED that the motions are GRANTED and movants are
                               granted leave to file briefs as amicus curiae. Signed by Judge
                               Ellen S. Huvelle on September 13, 2017. (AG) (Entered:
                               09/13/2017)
09/13/2017         58          RESPONSE re 57 MOTION for Extension of Time to File
                               Response/Reply filed by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (Gupta,
                               Deepak) (Entered: 09/13/2017)
09/13/2017         59          AMICUS BRIEF by REPORTERS COMMITTEE FOR
                               FREEDOM OF THE PRESS, AMERICAN SOCIETY OF
                               NEWSPAPER EDITORS, ASSOCIATED PRESS MEDIA
                               EDITORS, ASSOCIATION OF ALTERNATIVE NEWS
                               MEDIA, CENTER FOR INVESTIGATIVE REPORTING,
                               FIRST AMENDMENT COALITION, FIRST LOOK MEDIA
                               WORKS, INC., INTERNATIONAL DOCUMENTARY
                               ASSOCIATION, INVESTIGATIVE REPORTING
                               WORKSHOP, MEDIA CONSORTIUM, MPA, NATIONAL
                               PRESS PHOTOGRAPHERS ASSOCIATION, ONLINE
                               NEWS ASSOCIATION, RADIO TELEVISION DIGITAL
                               NEWS ASSOCIATION, REPORTERS WITHOUT
                               BORDERS, SEATTLE TIMES COMPANY, SOCIETY OF
                               PROFESSIONAL JOURNALISTS, TULLY CENTER FOR
                               FREE SPEECH. (znmw) (Entered: 09/14/2017)
09/13/2017         60          LCvR 7.1 CERTIFICATE OF DISCLOSURE of Corporate
                               Affiliations and Financial Interests by AMERICAN SOCIETY
                               OF NEWSPAPER EDITORS, ASSOCIATED PRESS MEDIA
                               EDITORS, ASSOCIATION OF ALTERNATIVE NEWS
                               MEDIA, CENTER FOR INVESTIGATIVE REPORTING,
                               FIRST AMENDMENT COALITION, FIRST LOOK MEDIA
                               WORKS, INC., INTERNATIONAL DOCUMENTARY
                               ASSOCIATION, INVESTIGATIVE REPORTING
                               WORKSHOP, MEDIA CONSORTIUM, MPA, NATIONAL
                               PRESS PHOTOGRAPHERS ASSOCIATION, ONLINE
                               NEWS ASSOCIATION, RADIO TELEVISION DIGITAL
                               NEWS ASSOCIATION, REPORTERS COMMITTEE FOR
                               FREEDOM OF THE PRESS, REPORTERS WITHOUT
                               BORDERS, SEATTLE TIMES COMPANY, SOCIETY OF
                               PROFESSIONAL JOURNALISTS, TULLY CENTER FOR
                               FREE SPEECH identifying Other Affiliate SYRACUSE
                               UNIVERSITY for TULLY CENTER FOR FREE SPEECH;
                               Other Affiliate AMERICAN UNIVERSITY SCHOOL OF
                               COMMUNICATION for INVESTIGATIVE REPORTING
                               WORKSHOP; Corporate Parent MCCLATCHY COMPANY
                               for SEATTLE TIMES COMPANY. (znmw) (Entered:
                               09/14/2017)

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09/13/2017         61          AMICUS BRIEF by AMERICAN ASSOCIATION OF LAW
                               LIBRARIES, DEBORAH BEIM, THOMAS BRUCE,
                               PHILLIP MALONE, JONATHAN ZITTRAIN. (znmw)
                               (Entered: 09/14/2017)
09/13/2017         62          LCvR 7.1 CERTIFICATE OF DISCLOSURE of Corporate
                               Affiliations and Financial Interests by AMERICAN
                               ASSOCIATION OF LAW LIBRARIES. (See Docket Entry 61
                               to view document). (znmw) (Entered: 09/14/2017)
09/13/2017         63          AMICUS BRIEF by JOSEPH I. LIEBERMAN, DARRELL
                               ISSA. (znmw) (Entered: 09/14/2017)
09/14/2017                     MINUTE ORDER granting in part and denying in part 57
                               defendant's Motion for Extension of Time to File Response re
                               52 plaintiffs' MOTION for Summary Judgment as to Liability:
                               Upon consideration of defendant's motion, plaintiff's partial
                               consent and partial opposition thereto, and the entire record
                               herein, it is hereby ORDERED that the motion is GRANTED;
                               and it is further ORDERED that defendant shall have until
                               November 2, 2017, to file its response to plaintiffs' motion for
                               summary judgment; and it is further ORDERED that plaintiffs
                               reply is due by November 13, 2017. Signed by Judge Ellen S.
                               Huvelle on September 14, 2017. (AG) (Entered: 09/14/2017)
09/25/2017         64          Verified MOTION For Free Access To Pacer by DON
                               KOZICH (jf) (Entered: 09/27/2017)
09/29/2017         65          RESPONSE re 64 MOTION For Free Access To Pacer filed by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM. (Gupta, Deepak) (Entered: 09/29/2017)
10/02/2017         66          ORDER DENYING as moot 64 Motion for Free Access to
                               PACER Until Final Disposition of this Case. Signed by Judge
                               Ellen S. Huvelle on October 2, 2017. (lcesh2,) (Entered:
                               10/02/2017)
10/10/2017         67          MOTION to Clarify Minute Order dated 09/13/2017 by DON
                               KOZICH (jf) (Entered: 10/13/2017)
10/17/2017         68          ORDER denying 49 Motion for Leave to File Amicus Brief and
                               to Appear Telephonically; denying as moot 67 Motion to
                               Clarify: see Order for details. Signed by Judge Ellen S. Huvelle
                               on October 17, 2017. (lcesh2) (Entered: 10/17/2017)
10/30/2017         69          Unopposed MOTION for Extension of Time to File
                               Response/Reply as to 52 MOTION for Summary Judgment as
                               to Liability by UNITED STATES OF AMERICA
                               (Attachments: # 1 Text of Proposed Order)(Nebeker, William)
                               (Entered: 10/30/2017)
10/30/2017         72          STRIKEN PURSUANT TO MINUTE ORDER FILED ON
                               11/9/17.....Verified MOTION with Briefing by ROSEMARIE
                               HOWELL (Attachments: # 1 Appendix 1, # 2 Appendix 2, # 3


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                               Appendix 3)(jf) Modified on 11/12/2017 (zgdf). (Entered:
                               11/08/2017)
10/31/2017                     MINUTE ORDER granting 69 Unopposed Motion for
                               Extension of Time to File Response re 52 MOTION for
                               Summary Judgment as to Liability: Upon Consideration of the
                               Unopposed Motion For An Enlargement Of Time,
                               AndMemorandum In Support Thereof in response thereto, and
                               for the reasons set forth in support thereof, it is hereby
                               ORDERED that the motion should be and is hereby
                               GRANTED; and it is FURTHER ORDERED that Defendant
                               file its opposition to Plaintiff's Motion For Summary Judgment
                               As To Liability (ECF No. 52 ) on or before November 17,
                               2017; and it is FURTHER ORDERED that Plaintiffs may
                               respond to Defendant's filing on or before December 5, 2017.
                               Signed by Judge Ellen S. Huvelle on October 31, 2017. (AG)
                               (Entered: 10/31/2017)
10/31/2017         70          MOTION for Reconsideration re 68 Order on Motion for
                               Miscellaneous Relief, Order on Motion for Leave to File, Order
                               on Motion to Clarify by DON KOZICH (Attachments: # 1
                               Exhibit)(jf) (Entered: 11/01/2017)
11/06/2017         71          ORDER denying 70 Motion for Reconsideration of October 17,
                               2017 Order Denying Petitioners Motion for Clarification of
                               September 13, 2017 Order and Denying Petitioners Motion to
                               File Amicus Curiae; and granting Movant access to documents
                               filed in this case. See Order for details. Signed by Judge Ellen
                               S. Huvelle on November 6, 2017. (lcesh2) (Entered:
                               11/06/2017)
11/09/2017                     MINUTE ORDER: It is hereby ORDERED that Rosemarie
                               Howell's Verified Motion with Briefing 72 is STRICKEN from
                               the docket as filed without leave of Court; it is further
                               ORDERED that leave to file is denied because Rosemarie
                               Howell has opted out of the class, see ECF 45; and it is further
                               ORDERED that the Clerk shall return the motion to Rosemarie
                               Howell, along with a copy of this Minute Order. Signed by
                               Judge Ellen S. Huvelle on November 9, 2017. (lcesh2)
                               (Entered: 11/09/2017)
11/17/2017         73          Cross MOTION for Summary Judgment by UNITED STATES
                               OF AMERICA (Attachments: # 1 Memorandum in Support, # 2
                               Declaration Decl. of W. Skidgel, # 3 Statement of Facts, # 4
                               Text of Proposed Order)(Field, Brian) (Entered: 11/17/2017)
11/17/2017         74          Memorandum in opposition to re 52 MOTION for Summary
                               Judgment as to Liability filed by UNITED STATES OF
                               AMERICA. (Attachments: # 1 Memorandum in Support, # 2
                               Declaration Decl. of W. Skidgel, # 3 Statement of Facts, # 4
                               Text of Proposed Order)(Field, Brian) (Entered: 11/17/2017)
12/05/2017         75          REPLY to opposition to motion re 52 MOTION for Summary
                               Judgment as to Liability, filed by ALLIANCE FOR JUSTICE,


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                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (Attachments:
                               # 1 Statement of Facts Response to Defendant's Statement of
                               Facts)(Gupta, Deepak) Modified to remove link on 12/6/2017
                               (znmw). (Entered: 12/05/2017)
12/05/2017         76          Memorandum in opposition to re 73 Cross MOTION for
                               Summary Judgment filed by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (See Docket
                               Entry 75 to view document). (znmw) (Entered: 12/06/2017)
12/08/2017         77          MOTION for Extension of Time to File Response/Reply as to
                               73 Cross MOTION for Summary Judgment by UNITED
                               STATES OF AMERICA (Field, Brian) (Entered: 12/08/2017)
12/08/2017                     MINUTE ORDER granting in part and denying in part 77
                               defendant's opposed Motion for Extension of Time to File
                               Reply re 73 Cross Motion for Summary Judgment: Upon
                               consideration of the above−referenced motion, and the entire
                               record herein, it is hereby ORDERED that the motion is
                               GRANTED IN PART AND DENIED IN PART; and it is
                               further ORDERED that defendant shall have until January 5,
                               2018, to file its reply in support of its cross−motion for
                               summary judgment. Signed by Judge Ellen S. Huvelle on
                               December 8, 2017. (lcesh2) (Entered: 12/08/2017)
12/12/2017         78          LEAVE TO FILE DENIED− Declaration of Amended Service.
                               This document is unavailable as the Court denied its filing.
                               "Leave To File Denied" Signed by Judge Ellen S. Huvelle on
                               12/12/2017. (jf) (Entered: 12/15/2017)
01/05/2018         79          REPLY to opposition to motion re 73 Cross MOTION for
                               Summary Judgment filed by UNITED STATES OF
                               AMERICA. (Field, Brian) (Entered: 01/05/2018)
02/27/2018                     MINUTE ORDER Setting Hearing on Motions: It is hereby
                               ORDERED that a hearing on 52 plaintiffs' MOTION for
                               Summary Judgment as to Liability and 73 defendant's Cross
                               MOTION for Summary Judgment is set for Monday, March 19,
                               2017, at 11:00 a.m. in Courtroom 23A before Judge Ellen S.
                               Huvelle. Signed by Judge Ellen S. Huvelle on February 27,
                               2018. (AG) (Entered: 02/27/2018)
03/01/2018         80          Consent MOTION to Continue Motions Hearing by UNITED
                               STATES OF AMERICA (Field, Brian) (Entered: 03/01/2018)
03/02/2018                     MINUTE ORDER granting in part and denying in part 80
                               Consent Motion to Continue: Upon consideration of the
                               Consent Motion to Continue, it is hereby ORDERED that the
                               motion is granted in part and denied in part; and it is further
                               ORDERED that the Summary Judgment Motions Hearing
                               presently set for 3/19/2018 is CONTINUED TO 3/21/2018 at
                               11:00 AM in Courtroom 23A. Signed by Judge Ellen S.
                               Huvelle on March 2, 2018. (AG) (Entered: 03/02/2018)

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03/15/2018         81          NOTICE Of Filing by UNITED STATES OF AMERICA re 52
                               MOTION for Summary Judgment as to Liability, Order Setting
                               Hearing on Motion, 73 Cross MOTION for Summary Judgment
                               (Attachments: # 1 Exhibit Tabs 1 through 40)(Nebeker,
                               William) (Entered: 03/15/2018)
03/21/2018         82          Unopposed MOTION for Leave to Appear Pro Hac Vice
                               :Attorney Name− Meghan Oliver, :Firm− Motley Rice LLC,
                               :Address− 28 Bridgeside Blvd, Mt. Pleasant, SC 29464. Phone
                               No. − 843−216−9492. Fax No. − 843−216−9430 Filing fee $
                               100, receipt number 0090−5382765. Fee Status: Fee Paid. by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM (Attachments: # 1 Declaration Declaration of
                               Meghan Oliver, # 2 Text of Proposed Order Proposed
                               Order)(Smith, Elizabeth) (Entered: 03/21/2018)
03/21/2018                     MINUTE ORDER: It is hereby ORDERED that the hearing on
                               plaintiffs' MOTION for Summary Judgment as to Liability and
                               defendant's Cross MOTION for Summary Judgment is
                               CONTINUED from Wednesday, March 21, 2018, to Friday,
                               March 23, 2018, at 1:30 p.m. in Courtroom 23A before Judge
                               Ellen S. Huvelle. Signed by Judge Ellen S. Huvelle on March
                               21, 2018. (AG) (Entered: 03/21/2018)
03/21/2018                     MINUTE ORDER granting 82 Unopposed Motion for Leave to
                               Appear Pro Hac Vice: Upon consideration of the
                               above−referenced motion, it is hereby ORDERED that the
                               motion is GRANTED; and it is further ORDERED that
                               Meghan Oliver is admitted pro hac vice for the purpose of
                               appearing in the above−captioned case. Signed by Judge Ellen
                               S. Huvelle on March 21, 2018. (AG) (Entered: 03/21/2018)
03/21/2018         83          Unopposed MOTION for Leave to Appear Pro Hac Vice
                               :Attorney Name− Jonathan Taylor, :Firm− Gupta Wessler
                               PLLC, :Address− jon@guptawessler.com. Phone No. −
                               2028881741. Fax No. − 2028887792 Address: 1900 L Street
                               NW, Suite 312, Washington DC 20036 Filing fee $ 100, receipt
                               number 0090−5383035. Fee Status: Fee Paid. by ALLIANCE
                               FOR JUSTICE, NATIONAL CONSUMER LAW CENTER,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM
                               (Attachments: # 1 Declaration of Jonathan Taylor, # 2 Text of
                               Proposed Order)(Gupta, Deepak) (Entered: 03/21/2018)
03/21/2018                     MINUTE ORDER granting 83 Unopposed Motion for Leave to
                               Appear Pro Hac Vice: Upon consideration of the Unopposed
                               MOTION for Leave to Appear Pro Hac Vice, it is hereby
                               ORDERED that the motion is GRANTED; and it is further
                               ORDERED that Jonathan Taylor is admitted pro hac vice for
                               the purpose of appearing in proceedings in the above−captioned
                               case. Counsel is reminded that pursuant to LCvR 83.2(c)(2)
                               "An attorney who engages in the practice of law from an office
                               located in the District of Columbia must be a member of the


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                               District of Columbia Bar and the Bar of this Court to file papers
                               in this Court." Signed by Judge Ellen S. Huvelle on March 21,
                               2018. (AG) (Entered: 03/21/2018)
03/22/2018                     Set/Reset Hearings: Motion Hearing set for 3/23/2018 at 1:30
                               PM in Courtroom 23A before Judge Ellen S. Huvelle. (gdf)
                               (Entered: 03/22/2018)
03/23/2018                     Minute Entry; for proceedings held before Judge Ellen S.
                               Huvelle: Oral Arguments held on 3/23/2018. Plaintiffs' 52
                               MOTION for Summary Judgment as to Liability and
                               Defendant's 73 Cross MOTION for Summary Judgment; heard
                               and Taken Under Advisement. (Court Reporter Lisa Griffith)
                               (hs) (Entered: 03/23/2018)
03/24/2018         84          NOTICE by UNITED STATES OF AMERICA (Attachments:
                               # 1 Exhibit Ex. A, # 2 Exhibit Ex. B, # 3 Exhibit Ex. C, # 4
                               Exhibit Ex. D, # 5 Exhibit Ex. E, # 6 Exhibit Ex. F, # 7 Exhibit
                               Ex. G)(Field, Brian) (Entered: 03/24/2018)
03/28/2018         85          RESPONSE to Defendant's supplemental authority by
                               ALLIANCE FOR JUSTICE, NATIONAL CONSUMER LAW
                               CENTER, NATIONAL VETERANS LEGAL SERVICES
                               PROGRAM re 84 Notice (Other) (Gupta, Deepak) Modified
                               event title on 3/29/2018 (znmw). (Entered: 03/28/2018)
03/29/2018         86          RESPONSE re 85 Notice (Other) filed by UNITED STATES
                               OF AMERICA. (Field, Brian) (Entered: 03/29/2018)
03/29/2018         87          REPLY re 86 Response to Document filed by ALLIANCE
                               FOR JUSTICE, NATIONAL CONSUMER LAW CENTER,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM.
                               (Gupta, Deepak) (Entered: 03/29/2018)
03/31/2018         88          ORDER denying 52 plaintiffs' Motion for Summary Judgment;
                               granting in part and denying in part 73 defendant's Motion for
                               Summary Judgment; and setting Status Conference for
                               4/18/2018 at 03:00 PM in Courtroom 23A. Joint status report
                               due by April 16, 2018. Signed by Judge Ellen S. Huvelle on
                               March 31, 2018. (AG) (Entered: 03/31/2018)
03/31/2018         89          MEMORANDUM OPINION accompanying Order, ECF No.
                               88 , denying 52 plaintiffs' Motion for Summary Judgment and
                               granting in part and denying in part defendant's Cross−Motion
                               for Summary Judgment. Signed by Judge Ellen S. Huvelle on
                               March 31, 2018. (AG) Modified on 4/2/2018 to remove
                               attachment. Attachment docketed separately for opinion posting
                               purposes.(ztnr) (Entered: 03/31/2018)
03/31/2018         90          ATTACHMENT to 89 Memorandum & Opinion Signed by
                               Judge Ellen S. Huvelle on March 31, 2018. (ztnr) (Entered:
                               04/02/2018)
04/02/2018                     Set/Reset Deadlines: Joint Status Report due by 4/16/2018.
                               (gdf) (Entered: 04/02/2018)


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04/16/2018         91          Joint STATUS REPORT Proposing a Schedule to Govern
                               Further Proceedings by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (Narwold,
                               William) (Entered: 04/16/2018)
04/18/2018                     Minute Entry for proceedings held before Judge Ellen S.
                               Huvelle: Status Conference held on 4/18/2018. Status Report
                               due by 5/11/2018. Status Conference set for 5/18/2018 at 1:30
                               PM in Courtroom 23A before Judge Ellen S. Huvelle. (Court
                               Reporter Lisa Griffith) (gdf) (Entered: 04/18/2018)
04/18/2018         92          ORDER setting Status Conference for May 18, 2018, at 1:30
                               p.m. in Courtroom 23A. Joint Status Report due by May 11,
                               2018. See order for details. Signed by Judge Ellen S. Huvelle
                               on April 18, 2018. (AG) (Entered: 04/18/2018)
04/26/2018         93          MOTION for Extension of Time to File Status Report,
                               MOTION to Continue Status Conference by UNITED STATES
                               OF AMERICA (Attachments: # 1 Exhibit, # 2 Text of Proposed
                               Order)(Field, Brian) (Entered: 04/26/2018)
04/27/2018                     MINUTE ORDER denying 93 Motion for Extension of Time to
                               file Status Report; granting in part and denying in part 93
                               Motion to Continue Status Conference: Upon consideration of
                               defendant's motion, plaintiffs' opposition thereto, and the entire
                               record herein, it is hereby ORDERED that defendant's motion
                               for an extension of time to file a status report is DENIED; and
                               it is further ORDERED that defendant's motion to continue the
                               Status Conference presently set for May 18, 2018, is
                               GRANTED IN PART AND DENIED IN PART; and it is
                               further ORDERED that the Status Conference presently
                               scheduled for May 18, 2018, is RESCHEDULED to May 17,
                               2018, at 11:00 a.m. in Courtroom 23A. Signed by Judge Ellen
                               S. Huvelle on April 27, 2018. (AG) (Entered: 04/27/2018)
05/11/2018         94          Joint STATUS REPORT by UNITED STATES OF
                               AMERICA. (Field, Brian) (Entered: 05/11/2018)
05/17/2018         95          TRANSCRIPT OF PROCEEDINGS before Judge Ellen S.
                               Huvelle held on 3−23−18; Page Numbers: 1−121. Date of
                               Issuance:5−17−18. Court Reporter/Transcriber Lisa Griffith,
                               Telephone number (202) 354−3247, Transcripts may be
                               ordered by submitting the <a
                               href="http://www.dcd.uscourts.gov/node/110">Transcript
                               Order Form</a><P></P><P></P>For the first 90 days after
                               this filing date, the transcript may be viewed at the courthouse
                               at a public terminal or purchased from the court reporter
                               referenced above. After 90 days, the transcript may be accessed
                               via PACER. Other transcript formats, (multi−page, condensed,
                               CD or ASCII) may be purchased from the court
                               reporter.<P>NOTICE RE REDACTION OF
                               TRANSCRIPTS: The parties have twenty−one days to file
                               with the court and the court reporter any request to redact

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                               personal identifiers from this transcript. If no such requests are
                               filed, the transcript will be made available to the public via
                               PACER without redaction after 90 days. The policy, which
                               includes the five personal identifiers specifically covered, is
                               located on our website at www.dcd.uscourts.gov.<P></P>
                               Redaction Request due 6/7/2018. Redacted Transcript Deadline
                               set for 6/17/2018. Release of Transcript Restriction set for
                               8/15/2018.(Griffith, Lisa) (Entered: 05/17/2018)
05/17/2018         96          TRANSCRIPT OF PROCEEDINGS before Judge Ellen S.
                               Huvelle held on 4−18−18; Page Numbers: 1−38. Date of
                               Issuance:5−17−18. Court Reporter/Transcriber Lisa Griffith,
                               Telephone number (202) 354−3247, Transcripts may be
                               ordered by submitting the <a
                               href="http://www.dcd.uscourts.gov/node/110">Transcript
                               Order Form</a><P></P><P></P>For the first 90 days after
                               this filing date, the transcript may be viewed at the courthouse
                               at a public terminal or purchased from the court reporter
                               referenced above. After 90 days, the transcript may be accessed
                               via PACER. Other transcript formats, (multi−page, condensed,
                               CD or ASCII) may be purchased from the court
                               reporter.<P>NOTICE RE REDACTION OF
                               TRANSCRIPTS: The parties have twenty−one days to file
                               with the court and the court reporter any request to redact
                               personal identifiers from this transcript. If no such requests are
                               filed, the transcript will be made available to the public via
                               PACER without redaction after 90 days. The policy, which
                               includes the five personal identifiers specifically covered, is
                               located on our website at www.dcd.uscourts.gov.<P></P>
                               Redaction Request due 6/7/2018. Redacted Transcript Deadline
                               set for 6/17/2018. Release of Transcript Restriction set for
                               8/15/2018.(Griffith, Lisa) (Entered: 05/17/2018)
05/17/2018                     Minute Entry for proceedings held before Judge Ellen S.
                               Huvelle on 5/17/18 : Status Conference held. Order to be
                               issued. Joint Status Report due by 7/13/18. Further Status
                               Conference set for 7/18/18 at 12:00 PM in Courtroom 23A
                               before Judge Ellen S. Huvelle. (Court Reporter: Lisa Griffith)
                               (kk) (Entered: 05/17/2018)
05/17/2018         97          ORDER re discovery and future proceedings. Joint Status
                               Report due by 7/13/2018. Status Conference set for 7/18/2018
                               at 12:00 PM in Courtroom 23A before Judge Ellen S. Huvelle.
                               See order for details. Signed by Judge Ellen S. Huvelle on May
                               17, 2018. (AG) (Entered: 05/17/2018)
07/13/2018         98          Joint STATUS REPORT by UNITED STATES OF
                               AMERICA. (Field, Brian) (Entered: 07/13/2018)
07/13/2018         99          MOTION for Certification for interlocatory appeal, MOTION
                               to Stay by UNITED STATES OF AMERICA (Attachments: #
                               1 Memorandum in Support, # 2 Text of Proposed Order)(Field,
                               Brian). Added MOTION to Stay on 7/17/2018 (jf). (Entered:


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                               07/13/2018)
07/18/2018                     Minute Entry for proceedings held before Judge Ellen S.
                               Huvelle: Status Conference held on 7/18/2018. Parties should
                               submit a report by the C.O.B. on Friday, 7/20/18. (Court
                               Reporter: Scott Wallace) (gdf) (Entered: 07/19/2018)
07/20/2018        100          NOTICE Regarding Annual Courtroom Technology
                               Expenditures by UNITED STATES OF AMERICA (Field,
                               Brian) (Entered: 07/20/2018)
07/20/2018        101          Joint STATUS REPORT by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (Gupta,
                               Deepak) (Entered: 07/20/2018)
07/27/2018        102          RESPONSE re 99 MOTION for Certification for interlocatory
                               appeal MOTION to Stay filed by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (Gupta,
                               Deepak) (Entered: 07/27/2018)
08/02/2018        103          REPLY to opposition to motion re 99 MOTION for
                               Certification for interlocatory appeal MOTION to Stay filed by
                               UNITED STATES OF AMERICA. (Field, Brian) (Entered:
                               08/02/2018)
08/13/2018        104          ORDER granting in part and denying in part 99 defendant's
                               Motion for to Certify Orders for Interlocutory Appeal;
                               amending Order filed on March 31, 2018, ECF No. 88 , to
                               certify for interlocutory appeal for the reasons stated in an
                               accompanying Memorandum Opinion, ECF No. 105 ; and
                               granting 99 unopposed Motion to Stay. See order for details.
                               Signed by Judge Ellen S. Huvelle on August 13, 2018. (AG)
                               (Entered: 08/13/2018)
08/13/2018        105          MEMORANDUM OPINION accompanying August 13, 2018
                               Order, ECF No. 104 , re certification of March 31, 2018 Order,
                               ECF No. 88 for interlocutory appeal. Signed by Judge Ellen S.
                               Huvelle on August 13, 2018. (AG) (Entered: 08/13/2018)
08/20/2018        106          TRANSCRIPT OF PROCEEDINGS before Judge Ellen S.
                               Huvelle held on 7−18−18; Page Numbers: 1−21. Date of
                               Issuance:7−18−18. Court Reporter/Transcriber Scott Wallace,
                               Telephone number 202−354−3196, Transcripts may be ordered
                               by submitting the <a
                               href="http://www.dcd.uscourts.gov/node/110">Transcript
                               Order Form</a><P></P><P></P>For the first 90 days after
                               this filing date, the transcript may be viewed at the courthouse
                               at a public terminal or purchased from the court reporter
                               referenced above. After 90 days, the transcript may be accessed
                               via PACER. Other transcript formats, (multi−page, condensed,
                               CD or ASCII) may be purchased from the court
                               reporter.<P>NOTICE RE REDACTION OF
                               TRANSCRIPTS: The parties have twenty−one days to file

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                               with the court and the court reporter any request to redact
                               personal identifiers from this transcript. If no such requests are
                               filed, the transcript will be made available to the public via
                               PACER without redaction after 90 days. The policy, which
                               includes the five personal identifiers specifically covered, is
                               located on our website at www.dcd.uscourts.gov.<P></P>
                               Redaction Request due 9/10/2018. Redacted Transcript
                               Deadline set for 9/20/2018. Release of Transcript Restriction
                               set for 11/18/2018.(Wallace, Scott) (Entered: 08/20/2018)
08/23/2018                     USCA for the Federal Circuit Case Number 18−154−CP (zrdj)
                               (Entered: 08/23/2018)
08/23/2018                     USCA for the Federal Circuit Case Number 18−155−CP (zrdj)
                               (Entered: 08/23/2018)
10/16/2018                     USCA for the Federal Circuit Case Number 19−1081−SJ (zrdj)
                               (Entered: 10/18/2018)
10/16/2018                     USCA for the Federal Circuit Case Number 19−1083−SJ (zrdj)
                               (Entered: 10/18/2018)
11/28/2018        107          NOTICE OF GRANT OF PERMISSION TO APPEAL
                               UNDER 28 U.S.C. § 1292(B)by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. Filing fee $
                               505, receipt number 0090−5811958. Fee Status: Fee Paid.
                               Parties have been notified. (Attachments: # 1 USCA
                               Order)(Narwold, William) Modified on 11/29/2018 to correct
                               docket event/text (jf). (Entered: 11/28/2018)
11/29/2018        108          Transmission of the Notice of Grant of Permission to Appeal
                               Under 28 U.S.C. § 1292(B)and Docket Sheet to Federal Circuit.
                               The appeal fee was paid this date re 107 Notice of Appeal to
                               the Federal Circuit. (jf) (Entered: 11/29/2018)
09/10/2020        109          ENTERED IN ERROR.....Case randomly reassigned to Judge
                               Christopher R. Cooper. Judge Ellen S. Huvelle is no longer
                               assigned to the case. (rj) Modified on 9/11/2020 (rj). (Entered:
                               09/11/2020)
09/10/2020        110          Case directly reassigned to Judge Paul L. Friedman by consent.
                               Judge Christopher R. Cooper is no longer assigned to the case.
                               (rj) (Entered: 09/11/2020)
09/28/2020        111          MANDATE of USCA as to 107 Notice of Appeal to the
                               Federal Circuit, filed by ALLIANCE FOR JUSTICE,
                               NATIONAL VETERANS LEGAL SERVICES PROGRAM,
                               NATIONAL CONSUMER LAW CENTER ; USCA Case
                               Number 19−1081, 19−1083. (Attachments: # 1 USCA
                               Judgment)(zrdj) (Entered: 09/29/2020)
12/11/2020                     MINUTE ORDER: In view of the recent decision by the United
                               States Court of Appeals for the Federal Circuit remanding this
                               case for further proceedings, it is ORDERED that the parties


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                               file a joint status report on or before December 23, 2020
                               addressing how they wish to proceed. Signed by Judge Paul L.
                               Friedman on 12/11/2020. (lceg) (Entered: 12/11/2020)
12/23/2020        112          Joint STATUS REPORT by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (Gupta,
                               Deepak) (Entered: 12/23/2020)
12/29/2020                     MINUTE ORDER: In light of the parties joint status report 112
                               , this matter is STAYED until June 25, 2021. The parties shall
                               file a joint status report on or before June 18, 2021 updating the
                               Court on the status of any mediation. Signed by Judge Paul L.
                               Friedman on 12/29/2020. (lceg) (Entered: 12/29/2020)
12/29/2020                     Set/Reset Deadlines: Status Report due by 6/18/2021. (tj)
                               (Entered: 12/29/2020)
06/02/2021        113          NOTICE OF SUBSTITUTION OF COUNSEL by Robert
                               Aaron Caplen on behalf of UNITED STATES OF AMERICA
                               Substituting for attorney W. Mark Nebeker (Caplen, Robert)
                               (Entered: 06/02/2021)
06/03/2021        114          NOTICE OF SUBSTITUTION OF COUNSEL by Jeremy S.
                               Simon on behalf of UNITED STATES OF AMERICA
                               Substituting for attorney Brian J. Field (Simon, Jeremy)
                               (Entered: 06/03/2021)
06/16/2021        115          Joint STATUS REPORT by NATIONAL VETERANS
                               LEGAL SERVICES PROGRAM. (Narwold, William)
                               (Entered: 06/16/2021)
06/16/2021                     MINUTE ORDER: In light of 115 the parties' joint status
                               report, this matter is STAYED until September 23, 2021. The
                               parties shall file a joint status report on or before September 16,
                               2021, updating the Court on the progress of their discussions.
                               Signed by Judge Paul L. Friedman on June 16, 2021. (lcaf)
                               (Entered: 06/16/2021)
08/26/2021        116          MOTION to Intervene, MOTION to Modify by MICHAEL T.
                               PINES. (Attachments: # 1 Declaration redacted)(ztd); ("Leave
                               to file Granted" signed 8/26/2021 by Judge Paul L. Friedman)
                               Modified on 10/1/2021 (znmw). Added MOTION for Sanctions
                               on 10/1/2021 (znmw). (Entered: 08/27/2021)
08/26/2021        117          SEALED DOCUMENT (MOTION FOR INTERVENTION
                               AND LEAVE TO FILE) filed by MICHAEL T. PINES. (This
                               document is SEALED and only available to authorized
                               persons.) (Attachments: # 1 Declaration)(ztd);("Leave to File
                               Granted − Document Under Seal" signed 8/26/2021 by Judge
                               Paul L. Friedman) (Entered: 08/27/2021)
08/27/2021                     MINUTE ORDER: Counsel for the parties are directed to file
                               responses to 116 Mr. Pines' motion to intervene on or before
                               September 10, 2021. Signed by Judge Paul L. Friedman on


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                               August 27, 2021. (lcaf) (Entered: 08/27/2021)
09/08/2021        118          MOTION for Extension of Time to File Response to Motion for
                               Intervention, to Modify Class Certification Order, and for
                               Sanctions by UNITED STATES OF AMERICA. (Attachments:
                               # 1 Proposed Order)(Simon, Jeremy) Modified event on
                               9/9/2021 (ztd). (Entered: 09/08/2021)
09/09/2021        119          ORDER granting 118 defendant's motion for extension of time
                               up to and including October 1, 2021 within which to respond to
                               motion for intervention, to modify class certification order and
                               for sanctions. Signed by Judge Paul L. Friedman on September
                               9, 2021. (MA) (Entered: 09/09/2021)
09/09/2021        120          Memorandum in opposition to re 118 MOTION for Extension
                               of Time to File Response/Reply filed by MICHAEL T. PINES.
                               (ztd) (Entered: 09/10/2021)
09/09/2021        121          NOTICE by MICHAEL T. PINES (ztd) (Entered: 09/10/2021)
09/10/2021        122          RESPONSE re 116 MOTION to Intervene MOTION for Leave
                               to File filed by ALLIANCE FOR JUSTICE, NATIONAL
                               CONSUMER LAW CENTER, NATIONAL VETERANS
                               LEGAL SERVICES PROGRAM. (Gupta, Deepak) (Entered:
                               09/10/2021)
09/14/2021                     MINUTE ORDER: The Court has reviewed 121 Mr. Pines'
                               notice requesting reconsideration of 119 the Court's order
                               granting the government an extension of time up to October 1,
                               2021 in which to respond to the motion to intervene. The Court
                               concludes that Mr. Pines has not demonstrated that he will
                               suffer prejudice as a result of the extension of time, and the
                               government has established good cause for the extension of
                               time. The Court therefore will not alter the deadline for the
                               government's response to the motion to intervene. The
                               government, in its response to the motion to intervene, is
                               directed to also address the concerns about delay raised in 120
                               121 Mr. Pines' notices. Signed by Judge Paul L. Friedman on
                               September 14, 2021. (lcaf) (Entered: 09/14/2021)
09/15/2021        123          Joint STATUS REPORT by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (Narwold,
                               William) (Entered: 09/15/2021)
09/17/2021                     MINUTE ORDER: In light of the parties' representations
                               concerning settlement discussions in 123 the joint status report,
                               the stay in this case is extended through November 22, 2021.
                               The parties shall file a joint status report on or before
                               November 15, 2021, notifying the Court of the progress of their
                               discussions. Signed by Judge Paul L. Friedman on September
                               17, 2021. (lcaf) (Entered: 09/17/2021)
10/01/2021        124          RESPONSE re 116 MOTION to Intervene MOTION for Leave
                               to File filed by UNITED STATES OF AMERICA. (Simon,


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                               Jeremy) (Entered: 10/01/2021)
10/12/2021                     MINUTE ORDER: The Court has reviewed the parties' briefs
                               122 124 in opposition to 116 Mr. Pines's Motion for
                               Intervention, Motion to Modify Class Certification Order, and
                               for Sanctions. On or before October 26, 2021, the parties are
                               directed to file supplemental briefs addressing (1) whether, to
                               the parties' knowledge, Mr. Pines is in fact a member of the
                               class in this case; (2) if so, whether Mr. Pines has opted out of
                               the class, and noting any applicable deadlines for opting out;
                               and (3) setting forth the legal standard for a motion for
                               intervention by a class member. Signed by Judge Paul L.
                               Friedman on October 12, 2021. (lcaa) (Entered: 10/12/2021)
10/21/2021        125          Emergency MOTION for Order to Reactivate PACER Account
                               by MICHAEL T. PINES. "Let this be filed," signed by Judge
                               Paul L. Friedman on 10/21/2021. (znmw) (Entered:
                               10/25/2021)
10/26/2021        126          SUPPLEMENTAL MEMORANDUM to re Order,,
                               (Supplemental Brief In Response To Court Order Dated
                               October 12, 2021) filed by UNITED STATES OF AMERICA.
                               (Simon, Jeremy) (Entered: 10/26/2021)
10/26/2021        127          RESPONSE TO ORDER OF THE COURT re Order,,
                               REGARDING MICHAEL PINESS MOTION FOR
                               INTERVENTION, TO MODIFY THE CLASS DEFINITION,
                               AND FOR SANCTIONS filed by NATIONAL VETERANS
                               LEGAL SERVICES PROGRAM. (Gupta, Deepak) (Entered:
                               10/26/2021)
11/01/2021        128          RESPONSE re 125 MOTION for Order (Defendant's Response
                               to Michael Pines' Motion to Reactivate Pines' PACER Account)
                               filed by UNITED STATES OF AMERICA. (Simon, Jeremy)
                               (Entered: 11/01/2021)
11/15/2021        129          Joint STATUS REPORT by ALLIANCE FOR JUSTICE,
                               NATIONAL CONSUMER LAW CENTER, NATIONAL
                               VETERANS LEGAL SERVICES PROGRAM. (Narwold,
                               William) (Entered: 11/15/2021)
11/15/2021        131          PER CURIAM ORDER of USCA (certified copy) filed re:
                               petitioner Michael T. Pines, granting motion for in forma
                               pauperis; dismissing petition for writ of mandamus; dismissing
                               as moot motion to reactivate Pacer account; USCA Case
                               Number 21−5204. (znmw) (Entered: 11/16/2021)
11/16/2021                     MINUTE ORDER: In light of the parties' representations
                               concerning settlement discussions in 129 the Joint Status
                               Report, the stay in this case is extended through January 27,
                               2022. The parties shall file a further joint status report on or
                               before January 20, 2022 notifying the Court of the progress of
                               their settlement efforts. Signed by Judge Paul L. Friedman on
                               November 16, 2021. (lcaa) (Entered: 11/16/2021)


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11/16/2021        130          MEMORANDUM OPINION AND ORDER denying 116 Mr.
                               Pines pro se Motion for Intervention and for Leave to File
                               Complaint in Intervention, Motion to Modify Class
                               Certification Order, and for Sanctions; denying as moot Mr.
                               Pines Motion for Pretrial Conference and to Appoint a Special
                               Master; denying as moot 125 Mr. Pines Emergency Motion for
                               Order to Reactivate PACER Account; and granting Mr. Pines
                               Application to Proceed in District Court Without Prepaying
                               Fees or Costs. The Clerk of the Court is directed to file that
                               application on the docket in this case. Signed by Judge Paul L.
                               Friedman on November 16, 2021. (MA) (Entered: 11/16/2021)
11/16/2021                     Set/Reset Deadlines: Joint Status Report due by 1/20/2022 (hs)
                               (Entered: 11/16/2021)
12/16/2021        132          NOTICE OF APPEAL as to 130 Memorandum & Opinion by
                               MICHAEL T. PINES. Fee Status: No Fee Paid. Parties have
                               been notified. (znmw) (Entered: 12/17/2021)




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Michael T. Pines
12303 Harbour Pointe Blvd.
#N-203
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magicalmichael100@gmail.com



                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF COLUMBIA



    NATIONAL VETERANS LEGAL
    SERVICES PROGRAM, et. al.                        Case No. 1:16-cv-00745-PLF

                          Plaintiffs


    v.                                               NOTICE OF APPEAL

    UNITED STATES OF AMERICA,

                         Defendant



         Michael T. Pines appeals to the United States Court of Appeals for the District of

Columbia from the order denying the Motions to Intervene and For Leave To File A Complaint In

Intervention, Motion to Modify Class Certification Order, and for Sanctions entered on

November 16, 2021.




Dated: December 16, 2021                      /s/ Michael T. Pines




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